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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                MARTINSBURG

 UNITED STATES OF AMERICA,

               Plaintiff,
 v.                                                         Criminal Action No. 3:08-CR-64-1
                                                            JUDGE BAILEY
 WILLIE EDWARD BARNES,
 aka “BIG WILL,”

               Defendant.

      REPORT AND RECOMMENDATION TO DISTRICT JUDGE RECOMMENDING
      THAT THE DISTRICT COURT DENY DEFENDANT’S MOTION TO SUPPRESS
       STATEMENTS [69] AND MOTION TO SUPPRESS PHYSICAL EVIDENCE [70]


                                   I.      INTRODUCTION

        On November 19, 2008, this matter came before this Court for an evidentiary hearing

 pursuant to Defendant’s Motion to Suppress Statements [69], Motion to Suppress Physical Evidence

 [70], and Motion for Discovery [76]. Willie Edward Barnes aka “Big Will” (“Defendant”), appeared

 at the hearing in person and by counsel, Lawrence E. Sherman, Jr., Esq. The United States of

 America (“Government”), appeared by Paul T. Camilletti, Assistant United States Attorney. The

 undersigned Magistrate Judge issues this Report and Recommendation on Defendant’s Motions to

 Suppress [69] [70], following holding the evidentiary hearing. The Court issued a separate order

 on Defendant’s Motion for Discovery [76].



  II.      PROPOSED BACKGROUND AND FINDINGS OF FACT TO THE DISTRICT


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                                            COURT

 1.     On September 4, 2008, the Federal Grand Jury for the Northern District of West Virginia,

        Martinsburg Division, indicted the Defendant with seven (7) counts of a nine (9) count

        indictment.

 2.     The charges in the September 4, 2008 indictment against the Defendant are as follows:

 Count One (1) -      conspiracy to distribute more than 50 grams of cocaine base in violation of

                      21 U.S.C. §841(a)(1), §841(b)(1)(A), and §846;

 Count Two (2) -      possession with intent to distribute more than 50 grams of cocaine base in

                      violation of 21 U.S.C. §841(a)(1) and §841(b)(1)(A);

 Count Three (3) -    felon in possession of firearm and ammunition in violation of 18 U.S.C.

                      §922(g)(1), §924(a)(2), and §924(e);

 Count Six (6) -      aiding and abetting the distribution of cocaine base in violation of 21 U.S.C.

                      §841(a)(1) and §841(b)(1)(C) and 18 U.S.C. §2;

 Count Seven (7) -    aiding and abetting the possession with intent to distribute cocaine base in

                      violation of 21 U.S.C. §841(a)(1) and §841(b)(1)(B) and 18 U.S.C. §2;

 Count Eight (8) -    aiding and abetting possession with intent to distribute methamphetamine in

                      violation of 21 U.S.C. §841(a)(1) and §841(b)(1)(C) and 18 U.S.C. §2; and

 Count Nine (9) -     aiding and abetting possession with intent to distribution of MDA in

                      violation of 21 U.S.C. §841(a)(1) and §841(b)(1)(C) and 18 U.S.C. §2. (See

                      Indict., Criminal Action No. 3:08CR64-1, Sept. 4, 2008).



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 3.    On October 24, 2008, the Defendant filed a Motion to Suppress Statements [69], Motion to

       Suppress Physical Evidence [70], and Motion for Discovery [76].

 4.    On November 19, 2008, the Court held an evidentiary hearing on Defendant’s motions. The

       Government called Officer Lynch and Patrolman Watson to testify. Defense counsel cross-

       examined, but the Defendant did not call any witnesses. Therefore, the Government

       presented the following uncontroverted evidence:

       a.     On December 10, 2007 at approximately 4:40 p.m., Officer Lynch of the Ranson

              City Police Department responded to a third party’s report of shots fired at the Apple

              Tree apartment complex from apartment 304 that went through the floor into the

              apartment below, apartment 204. Officer Lynch knocked on the door of apartment

              304, which was the Defendant’s apartment. Initially, the Defendant told the officer

              that he dropped a television. The officer then went downstairs to question the

              resident of apartment 204. She showed the officer the holes in her ceiling from the

              gunshot. The holes in the victim’s ceiling were consistent with holes made from

              firing a shotgun. Officer Lynch then returned to the Defendant’s apartment and

              again questioned him about the gunshot. The Defendant consented to allow the

              officer to enter his apartment and look in the Defendant’s bedroom. In the bedroom,

              the Defendant admitted to accidentally discharging a Remington shotgun into the

              floor of his upper level apartment and executed a written statement. In addition, the

              Defendant willingly relinquished the shotgun. Following making the verbal and



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             written statements and surrendering the shotgun, Officer Lynch arrested the

             Defendant. Officer Lynch testified that he did not give the Defendant Miranda

             warnings, and that the Defendant was very cooperative.

       b.    On February 13, 2008 at 9:25 p.m., Patrolman Watson of the Ranson Police

             Department observed the Defendant in the parking lot of the Apple Tree apartments.

             Patrolman Watson viewed the Defendant from thirty (30) feet, and he personally

             knew what the Defendant looked like from prior arrests. The Patrolman also knew

             that one of the conditions of the Defendant’s probation from Jefferson County

             Magistrate Court is that he not enter the Apple Tree apartments. In addition,

             Patrolman Watson knew that the Defendant was on the “no trespass list” for the

             Apple Tree apartments. Patrolman Watson arrested the Defendant for trespassing

             and violating his probation. Patrolman Watson searched the Defendant incident to

             arrest and seized, from the Defendant’s coat pockets, $524 and an off white rock

             substance, which appeared to be crack cocaine. At the Ranson Police Department,

             Patrolman Watson measured the suspected crack cocaine, and it weighed

             approximately 5.5 ounces.




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                                       III.      ANALYSIS

     1.      Report Recommending that the District Court Deny Defendant’s Motion to
                               Suppress Statements [69]

                [T]he prosecution may not use statements, whether exculpatory or
                inculpatory, stemming from custodial interrogation of the defendant
                unless it demonstrates the use of procedural safeguards effective to
                secure the privilege against self-incrimination. By custodial
                interrogation, we mean questioning initiated by law enforcement
                officers after a person has been taken into custody or otherwise
                deprived of his freedom of action in any significant way...any
                statement given freely and voluntarily without any compelling
                influences is, of course, admissible in evidence.

 Miranda v. Arizona, 384 U.S. 436, 86 S. Ct. 1602 (1966). Defendant moves to suppress the verbal

 and written statements he provided to the police. At the November 19, 2008 hearing, the

 Government presented evidence that Officer Lynch questioned the Defendant in his bedroom, when

 he was not under arrest and when the Defendant was very cooperative.

                [A] suspect who was questioned in the bedroom of her home was not
                in custody for purposes of Miranda where she was not forced to enter
                the room, she was not handcuffed or otherwise restrained, officers did
                not draw their weapons in her presence, and she was never told that
                she was not free to leave.

 U.S. v. Hargrove, 2008 WL 4446715 (N.D. W. Va. 2008) (slip op.) (citing U.S. v. Parker, 262 F.3d

 415 (4th Cir. 2001). Similarly, Officer Lynch testified that the Defendant consented to allowing the

 officer into the bedroom of the apartment, where the Defendant volunteered his verbal and written

 statements and willingly relinquished the shotgun. Therefore, the undersigned Magistrate Judge

 recommends that the District Court DENY Defendant’s Motion to Suppress Statements [69].

     2.      Report Recommending that the District Court Deny Defendant’s Motion to


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                                 Suppress Physical Evidence [70]

                A brief investigative stop is permissible whenever the police officer
                has a reasonable suspicion grounded in specific and articulable facts
                that the person he stopped has been or is about to be involved in a
                crime. United States v. Hensley, 469 U.S. 221, 105 S. Ct. 675 (1985);
                Terry v. Ohio, 392 U.S. 1, 88 S. Ct. 1868 (1968).

 U.S. Moore, 817 F.2d 1105 (4th Cir. 1987). Defendant moves to suppress the $524 and alleged drugs

 seized by Patrolman Watson on February 13, 2008. At the November 19, 2008 hearing, Patrolman

 Watson testified that he saw the Defendant in the parking lot of Apple Tree apartments. The officer

 personally knew the Defendant from prior arrests; he knew that it was a condition of the Defendant’s

 probation not to enter the Apple Tree apartments; and he knew that the Defendant was on the “no

 trespass” list for Apple Tree apartments. “A warrantless arrest is supported by probable cause

 ‘where the facts and circumstances within the arresting officer’s knowledge are sufficient for a

 reasonable person to believe that a crime has been or is being committed by the person to be

 arrested.’” U.S. v. Santana, 286 Fed. Appx. 89 (4th Cir. 2001) (unpublished decision) (citing United

 States v. Miller, 925 F.2d 695 (4th Cir. 1991). Patrolman Watson’s familiarity with what the

 Defendant looked like from prior arrests; his personal knowledge of the condition of the Defendant’s

 probation not to enter the apartments; his knowledge that the apartment complex listed the

 Defendant on the “no trespass” list; combined with personally identifying the Defendant trespassing

 at the apartment complex were sufficient facts and circumstances to find probable cause to arrest the

 Defendant without a warrant.

                It is well settled that a search incident to a lawful arrest is a
                traditional exception to the warrant requirement of the Fourth


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                Amendment. United States v. Robinson, 414 U.S. 218, 94 S. Ct. 467
                (1973). This exception provides that when law enforcement officers
                have probable cause to make a lawful custodial arrest, they may
                incident to that arrest and without a warrant search the arrestee’s
                person and the area within his immediate control. Chimel v.
                California, 395 U.S. 752, 89 S. Ct. 2034 (1969).

 See U.S. v. Currence, 446 F.3d 554 (4th Cir. 2006). Therefore, Patrolman Watson lawfully seized

 the money and alleged drugs pursuant to a lawful arrest.

        Defendant also moves to suppress the shotgun seized during the December 10, 2007 incident.

                The voluntariness of a defendant’s consent to a search is a factual
                question determined in light of the totality of the circumstances and
                should be upheld unless clearly erroneous. United States v. Peterson,
                524 F.2d 167 (4th Cir. 1975) (citing Schneckloth v. Bustamonte, 412
                U.S. 218, 93 S. Ct. 2041 (1973)). Moreover, the government need
                not demonstrate that the defendant knew of the right to refuse to
                consent for the search to be deemed a voluntary one. Schneckloth,
                412 U.S. at 248-49, 93 S. Ct. at 2058-59.

 U.S. v. Gordon, 895 F.2d 932 (4th Cir. 1990). At the November 19, 2008 hearing, Officer Lynch

 testified that the Defendant willingly handed over the shotgun, following the Defendant’s admission

 to accidentally discharging the shotgun in his bedroom. From the evidence presented at the hearing,

 the totality of the circumstances demonstrated that the Defendant volunteered the shotgun, which

 would make the seizure consensual and the evidence admissible.

        Therefore, the undersigned Magistrate Judge recommends that the District Court DENY

 Defendant’s Motion to Suppress Physical Evidence [70].



                    IV.       RECOMMENDATION AND CONCLUSION



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        The undersigned Magistrate Judge hereby RECOMMENDS that the District Court DENY

 Defendant’s Motion to Suppress Statements [69] and Motion to Suppress Physical Evidence [70].

 The Court notes the Defendant’s objection to the ruling.

        Within ten (10) days of receipt of service of this Report and Recommendation, any party who

 appears pro se and any counsel of record may file with the Clerk of the Court any written objections

 to this Recommendation. The party should clearly identify the portions of the Recommendation to

 which the party is filing an objection and the basis for such objection. The party shall also submit

 a copy of any objections to the Honorable John P. Bailey. Failure to timely file objections to this

 Recommendation will result in waiver of the right to appeal from a judgment of the District Court

 based upon this Recommendation. 28 U.S.C. § 636(b)(1).

        The Court directs the Clerk of the Court to provide a copy of this Report and

 Recommendation to all counsel of record, as provided in the Administrative Procedures for

 Electronic Case Filing in the United States District Court for the Northern District of West Virginia.

 DATED: November 25, 2008




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